UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

LLOYD BELL, et al., )
)
Plaintiff, )
)

v. ) Case No. 1:17CV111
)
AMERICAN INTERNATIONAL )
INDUSTRIES, INC, et al. )
)
Defendant. )
)
ORDER

This matter is before the Court on several Motions to Seal related to non-party
Northwell Health, Inc.’s Motion to Intervene. In the Motion to Intervene, Northwell sought
intervention related to Plaintiffs potential expert witness, Dr. Jacqueline Moline. The
undersigned entered an Order denying the Motion to Intervene, and Northwell filed
objections. Following briefing on the objections, the District Judge affirmed. After further
briefing, the District Judge filed his Order under seal and placed a redacted version on the
public docket [Doc. #354]. The present Motions to Seal [Docs. #317, #320, #328, #329,
#337, #339] all relate to the sealing of the underlying documents and briefing related to
Northwell’s objections.

In considering the present Motions, the Court notes that the Motions to Seal have been
on the public docket for several months, allowing any interested parties sufficient time to
respond, and no such responses have been filed. With respect to the substance of the Motions

to Seal, Northwell seeks redaction of information regarding a medical research study carried

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out by Dr. Jacqueline Moline, who is a Northwell employee and was a potential expert witness
for Plaintiff. For present purposes, the information that Northwell and the Parties request to
seal is connected only to Northwell’s proposed Motion to Intervene, and not related to
dispositive motions or trial. In weighing the competing interests, the Court notes that the
Parties seek to seal information telated to a medical research study. At a hearing in September,
this Court tecognized the important confidentiality interests involved in human-subjects
reseatch, both on the patt of the subject and the researcher. At that time, the Court found
that the ptivacy interests involved in such research outweighed any interest of the public in
disclosure, at least for purposes of pretrial discovery motions. In addition, it now appeats to
the Court that Plaintiff no longer intends to present Dr. Moline’s testimony at trial, and the
matter presently remains limited to pretrial discovery issues. Given the important
confidentiality interests at stake in human-subjects reseatch, and given the stage of the case
and the nature of the motions brought in conjunction with briefing on a pretrial Motion to
Intervene telated to discovery issues, the Court finds that the balance of interests weighs in
favot of tedaction, at least at this stage in the case. Finally, the Court notes that the District
Judge has made the determination to seal the Order with respect to these issues. Similarly
sealing the underlying briefing is appropriate in light of that determination.

The Coutt further finds that Northwell and the Parties have not sought to seal too
broad a range of information in Docs. #318, #320, #335, and #340, and have only sought
redaction of infotmation ditectly related to their claim of confidentiality. As to Docs. #330
and #331, the Court notes that Defendant AII at this time has not filed a public version of

those documents, and requests to be relieved of that obligation. On review it does not appear

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that redactions would be helpful or even feasible to address the confidentiality concerns, given
the nature of the arguments and discussion in those documents. Redaction would essentially
result in redaction of the entire substance of the briefing, and therefore no further redaction
ot natrowing will be required at this time.

The Court notes that, as has been previously discussed at length, the Court has only
made preliminary determinations regatding confidentiality and sealing for purposes of
discovery and pretrial proceedings. No final determinations on sealing have been made, and
those issues may ultimately be raised and addressed again at trial or on dispositive motions
and prior to any final judgment.

IT IS THEREFORE ORDERED that the Motions to Seal [Docs. #317, #320, #328,
#329, #337, #339] are GRANTED as set out above, and ECF Documents #318, #320, #330,
#331, #335, and #340 will remain under seal at this time.

This, the 23'¢ day of July, 2021.

/s/ Joi Elizabeth Peake
United States Magistrate Judge

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